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11

12                       UNITED STATES DISTRICT COURT
13                     CENTRAL DISTRICT OF CALIFORNIA
14   TOREY COSTELLO,                          Case No.:
15       Plaintiff,                           COMPLAINT FOR DAMAGES FOR:
16                                            1. Excessive / Unreasonable Force (U.S.
         vs.
17                                               Const. Amend. 4);
     CITY OF LOS ANGELES; and                 2. Freedom of Speech / Assembly (U.S.
18
     DOES 1 through 10, inclusive,               Const. Amend. 1);
19                                            3. Municipal Liability (Monell Liability)
         Defendants.                             For Failure To Train And/Or Discipline
20
                                                 Deputies And Officers (U.S. Const.
21                                               Amends. 1, 4 & 14);
22
                                              4. Municipal Liability (Monell Liability)
                                                 For Custom / Practice / Policy (U.S.
23                                               Const. Amends. 1, 4 & 14)
24
                                              JURY TRIAL DEMANDED
25

26

27         COMES NOW Plaintiff Torey Costello and shows this honorable court the
28
     following:

                              COMPLAINT FOR DAMAGES
                                                1
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1                           JURISDICTIONAL ALLEGATIONS
2
            1.     As this action is brought under 42 U.S.C. § 1983, this court has
3

4    jurisdiction over this case under its federal question jurisdiction pursuant to 28
5
     U.S.C. § 1331.
6

7
            2.     As the incidents complained of in this action occurred in the County

8    of Los Angeles, State of California, within the territorial jurisdiction of this court,
9
     venue properly lies in this court pursuant to 28 U.S.C. § 1391(b)(2).
10

11                                 GENERAL ALLEGATIONS
12
            3.   Plaintiff Torey Costello, hereinafter referred to as “COSTELLO” or
13

14
     “Plaintiff COSTELLO”, is a natural person, who, at all times complained of in this

15   action, resided in the County of Los Angeles, State of California.
16
            4.   Defendant City of Los Angeles, hereinafter also referred to as “CITY”,
17

18   is a municipal entity located in the State of California; within the territorial
19
     jurisdiction of this court.
20

21
            5.     Defendants DOES 1 through 6, inclusive, are sworn peace officers

22   and / or deputy sheriffs and/or police officers and/or investigators and/or Special
23
     Officers and/or a dispatchers and/or some other public officer, public official or
24

25   employee of defendant CITY and/or otherwise employed by the Los Angeles
26
     Police Department, who in some way committed some or all of the tortious actions
27

28
     (and constitutional violations) complained of in this action, and/or are otherwise

     responsible for and liable to plaintiff for the acts complained of in this action,
                                   COMPLAINT FOR DAMAGES
                                                 2
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1    whose identities are, and remain unknown to plaintiff, who will amend her
2
     complaint to add and to show the actual names of said DOE defendants when
3

4    ascertained by plaintiff.
5
           6.     At all times complained of herein, DOES 1 through 6, inclusive, were
6

7
     acting as individual persons acting under the color of state law, pursuant to their

8    authority as sworn peace officers and/or police officers and/or deputy sheriffs
9
     and/or Special Officers and/or Supervisors (i.e. Sergeants, Lieutenants, Captains,
10

11   Commanders, etc.) and/or dispatchers, employed by the Los Angeles Police
12
     Department, and were acting in the course of and within the scope of their
13

14
     employment with defendant CITY.

15         7.     Defendants DOES 7 through 10, inclusive, are sworn peace officers
16
     and/or the Chief and/or Assistant Chiefs and/or Commanders and/or Captains
17

18   and/or Lieutenants and/or Sergeants and/or other Supervisory personnel and/or
19
     policy making and/or final policy making officials, employed by Los Angeles
20

21
     Police Department and/or defendant City of Los Angeles, who are in some

22   substantial way liable and responsible for, or otherwise proximately caused and/or
23
     contributed to the occurrences complained of by plaintiff in this action, such as via
24

25   supervisory liability (i.e. failure to properly supervise, improperly directing
26
     subordinate officers, approving actions of subordinate officers), via bystander
27

28
     liability (failing to intervene in and stop unlawful actions of their subordinates

     and/or other officers), and such as by creating and/or causing the creation of and/or
                                 COMPLAINT FOR DAMAGES
                                                3
     Case 2:22-cv-03682-GW-AGR Document 1 Filed 05/29/22 Page 4 of 12 Page ID #:4



1    contributing to the creation of the policies and/or practices and/or customs and/or
2
     usages of the Los Angeles Police Department for, inter alia,: 1) using excessive
3

4    force upon persons; 2) for retaliating against persons for exercising freedom of
5
     speech and assembly; and 3) covering up tortious conduct by Los Angeles Police
6

7
     Department peace officers.

8          8.     At all times complained of herein, DOES 7 through 10, inclusive,
9
     were acting as individual persons acting under the color of state law, pursuant to
10

11   their authority as the Chief and/or the Assistant Chief and/or Captains and/or
12
     Lieutenants and/or Sergeants and/or other Supervisory personnel and/or policy
13

14
     making and/or final policy making officials with the Los Angeles Police

15   Department, and/or some other public official(s) with defendant CITY, and were
16
     acting in the course of and within the scope of their employment with defendant
17

18   CITY.
19
           9.     At all times complained of herein, defendants DOES 7 through 10,
20

21
     inclusive, were acting as individual persons under the color of state law; under and

22   pursuant to their status and authority as peace officers and/or Supervisory peace
23
     officers (as described herein, above and below), and/or policy making peace
24

25

26

27

28



                              COMPLAINT FOR DAMAGES
                                               4
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1    officers, with the Los Angeles Police Department and/or otherwise with defendant
2
     CITY1.
3

4             10.     Plaintiff is presently unaware of the identities of DOES 1 through
5
     10, inclusive, and will amend her complaint to add and to show the actual names of
6

7
     said DOE defendants, when made known to plaintiff.

8             11.    In addition to the above and foregoing, Defendants DOES 1 through 6,
9
     inclusive, acted pursuant to a conspiracy, agreement and understanding and
10

11   common plan and scheme to deprive the plaintiff of her federal Constitutional and
12
     statutory rights, and California constitutional and statutory state law rights, as
13

14
     complained of in this action.

15            12.     Defendants DOES 1 through 6, inclusive, acted in joint and concerted
16
     action to so deprive the plaintiff of those rights as complained of herein; all in
17

18   violation of 42 U.S.C. § 1983, and otherwise in violation of United States
19
     (Constitutional and statutory) law and California (Constitutional and statutory)
20

21
     state law.

22            13.     Said conspiracy / agreement / understanding / plan / scheme / joint
23
     action / concerted action, above-referenced, was a proximate cause of the violation
24

25

26

27

28

     1
         Such as a CITY executive officer.
                                    COMPLAINT FOR DAMAGES
                                                  5
     Case 2:22-cv-03682-GW-AGR Document 1 Filed 05/29/22 Page 6 of 12 Page ID #:6



1    of the plaintiff’s federal and state constitutional and statutory rights, as complained
2
     of herein.
3

4                               FIRST CAUSE OF ACTION
                             VIOLATION OF 42 U.S.C. § 1983
5
                          Violation of Fourth Amendment Rights -
6                      Excessive/Unreasonable Use of Force on Person
7
                           (Against DOES 1 through 6, inclusive)

8           14.     Plaintiff hereby realleges and re-incorporates by reference the
9
     allegations set forth in paragraphs 1 through 13 inclusive, above, as if set forth in
10

11   full herein.
12
            15.     On May 29, 2020, at 8:45 p.m., at the intersection of Figueroa and
13

14
     Seventh Street in Los Angeles, California, COSTELLO joined kneeling protestors’

15   continued peaceful praying for the family of George Floyd.
16
            16.     At or around 9:05 PM, Los Angeles Police Department officers began
17

18   shoving people to the ground and began to fire tear gas and flares into the crowd.
19
            17.     At or about 9:10 to 9:35 PM, a teenage girl who was kneeling in the
20

21
     middle of the street was having a panic attack while DOES 1 through 6, inclusive,

22   held a gun in her face.
23
            18.     COSTELLO decided to help the young woman stand up. As
24

25   COSTELLO assisted the young woman, DOES 1 through 6, inclusive, began
26
     brutally hitting COSTELLO on her shoulder with their guns.
27

28
            19.     A bystander intervened and prevented DOES 1 through 6, inclusive,

     from continuing to brutalize COSTELLO.
                                COMPLAINT FOR DAMAGES
                                                 6
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1          20.    As a result of the brutal and unreasonable force used upon
2
     COSTELLO, Plaintiff COSTELLO suffered serious injuries to her shoulder.
3

4          21.    The actions of Defendants DOES 1 through 6, inclusive, as
5
     complained above herein, constituted a violation of COSTELLO’s rights under the
6

7
     Fourth Amendment to the United States Constitution to be free from the use of

8    unlawful and unreasonable and excessive force upon her person.
9
           22.     As a direct and proximate result of the actions of Defendants DOES 1
10

11   through 6, inclusive, COSTELLO was: 1) substantially physically, mentally and
12
     emotionally injured; 2) incurred medical and psychological costs, bills and
13

14
     expenses, 3) incurred lost wages and profits, and 4) suffered terrible physical

15   injury, pain and suffering, as well as mental and emotional pain and suffering, and
16
     5) suffered / is suffering lost wages and profits; all in an amount to be proven at
17

18   trial; in excess of $2,000,000.00.
19
           23. The actions of said defendants, and each of them, as complained of
20

21
     herein, were committed maliciously, oppressively and in reckless disregard of

22   COSTELLO’s constitutional rights, sufficient for an award of punitive / exemplary
23
     damages against said defendants, save CITY, in an amount to be proven at trial, in
24

25   excess of $1,000,000.00.
26
     ///
27

28
     ///


                                COMPLAINT FOR DAMAGES
                                                7
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1                              SECOND CAUSE OF ACTION
2                            VIOLATION OF 42 U.S.C. § 1983
                 Violation of First Amendment Rights - Freedom of Speech
3
                     (Against Defendants DOES 1 through 6, inclusive)
4
           24.    Plaintiff hereby realleges and incorporates by reference the allegations
5

6    set forth in paragraphs 1 through 23, inclusive, above, as if set forth in full herein.
7
           25.    Moreover, the conduct of Defendants DOES 1 through 6, inclusive,
8

9    violated COSTELLO’s right to freedom of speech and right to assembly,
10
     specifically when DOES 1 through 6, inclusive retaliated against COSTELLO for
11
     participating in a protest against police abuse and prayer for the George Floyd
12

13   family.
14
           26.    A substantial or motivating factor in the decisions of the various
15

16   defendants to take the adverse actions against plaintiff as complained of in this
17
     action, was COSTELLO’s exercise of her right to freedom of speech under the
18
     First Amendment to the United States Constitution.
19

20         27.    Moreover, said defendants would not have taken said adverse actions
21
     against COSTELLO, had COSTELLO not exercised her right to freedom of speech
22

23   under the First Amendment to the United States Constitution.
24
           28.    The conduct of DOES 1 through 6, inclusive, would chill a person of
25
     ordinary firmness from continuing to engage in constitutionally protected activity.
26

27         29.    As a direct and proximate result of said adverse actions taken against
28
     said plaintiff by said defendants as described above, plaintiff suffered serious

                               COMPLAINT FOR DAMAGES
                                                 8
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1    bodily injury, severe mental and emotional distress, medical and psychological
2
     costs and expenses, lost wages / profits, attorney’s fees and other special damages;
3

4    all in an amount to be proven at trial, in excess of $2,000,000.00.
5
            30.     The actions of defendants and each of them, as complained of herein,
6

7
     were done maliciously and in reckless disregard of plaintiff’s constitutional rights

8    sufficient for an award of punitive / exemplary damages against said defendants,
9
     save defendant CITY, in an amount to be proven at trial, in excess of
10

11   $1,000,000.00.
12
                      THIRD CAUSE OF ACTION
13                  VIOLATION OF 42 U.S.C. § 1983
14
       FEDERAL CLAIM FOR FAILURE TO PROPERTY TRAIN AND FOR
            FAILURE TO PROPERLY HIRE / FIRE / DISCIPLINE
15                     (Against Defendant CITY)
16
            31.     Plaintiff hereby realleges and incorporates by reference the
17

18   allegations set forth in paragraphs 1 through 30, inclusive, above, as if set forth in
19
     full herein.
20

21
            32.     As complained of herein above, the acts of Defendants DOES 1

22   through 6, deprived plaintiff of her rights under the laws of the United States and
23
     The United States Constitution.
24

25          33.     The training policies of CITY were not adequate to train its peace
26
     officer employees to properly and lawfully handle situations similar to the one
27

28
     they were presented with when they confronted plaintiff, including training on: 1)

     when they are permitted to use force against persons and the reasonable amount of
                                COMPLAINT FOR DAMAGES
                                                 9
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1     force and 2) that they may not retaliate against persons who are exercising free
2
      speech and assembly.
3

4            34.     CITY was deliberately indifferent to the obvious consequences of its
5
      failure to train its police officer employees adequately.
6

7
             35.     The failure of CITY to provide adequate training caused the

8     deprivation of plaintiff’s rights by Defendants DOES 1 through 6, inclusive.
9
             36.     CITY’s failure to train is closely related to the deprivation of
10

11    plaintiff’s rights as to be the moving force that ultimately caused plaintiff’s
12
      injuries.
13

14
             37.     As a direct and proximate result of the actions CITY, complained of

15    herein, Plaintiff: 1) was substantially physically, mentally and emotionally
16
      injured; 2) incurred medical and psychological costs, bills and expenses; 3) and
17

18    incurred other special and general damages, including attorney’s fees, investigator
19
      fees and associated litigation costs and expenses; all in an amount to be proven at
20

21
      trial in excess of $2,000,000.00.

22                             FOURTH CAUSE OF ACTION
23                           [VIOLATION OF 42 U.S.C. § 1983]
                   Claim Against Local Governing Body Defendants Based On
24
                             Official Policy, Practice, Or Custom
25                                (Against Defendant CITY)
26
             38.     Plaintiff hereby realleges and incorporates by reference the allegations
27

28
      set forth in paragraphs 1 through 37 inclusive, above, as if set forth in full herein.

             39.     As shown above, the actions of Defendants DOES 1 through 6,
                                  COMPLAINT FOR DAMAGES
                                                  10
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1     inclusive, deprived the plaintiff of her particular rights under the United States
2
      Constitution, as described above.
3

4           40.    At all times complained of herein, Defendants DOES 1 through 6,
5
      inclusive, were acting pursuant to the policies, customs, usages and practices of the
6

7
      Los Angeles Police Department / defendant CITY: 1) for using excessive force

8     upon persons; 2) for retaliating against person who peacefully protest and
9
      assembly; and 3) for covering-up unlawful and tortious conduct by Los Angeles
10

11    Police Department personnel and were a proximate cause of the very same federal
12
      constitutional violations complained of by the plaintiff in this action.
13

14
            41.     Said actions of said defendants were done by them under the color of

15    state law.
16
            42.     As a proximate result of said defendants acting pursuant to said
17

18    policies, customs, usages and practices of defendants CITY, above-described, said
19
      defendants committed said actions complained of above.
20

21
            43.    As a direct and proximate result of the actions of defendants CITY, as

22    complained of herein, plaintiff: 1) was substantially physically, mentally and
23
      emotionally injured, and great physical, mental and emotional pain, suffering and
24

25    distress; 2) incurred medical and psychological costs, bills and expenses, 3)
26
      incurred expenses to repair damaged property; 4) incurred lost profits and wages,
27

28
      and 5) incurred other special and general damages and expenses in an amount to be

      proven at trial, which is in excess of $2,000,000.00.
                                COMPLAINT FOR DAMAGES
                                                 11
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1           WHEREFORE, plaintiff prays for judgment as follows:
2                 a) For a judgment against all defendants for compensatory damages
3
                     in an amount in excess of $2,000,000.00;
4
                  b) For a judgment against all defendants, save defendant CITY, for
5
                     punitive damages in an amount in excess of $1,000,000.00;
6
                  c) For an award of reasonable attorney’s fees and costs;
7
                  d) For a trial by jury; and
8
                  e) For such other and further relief as this honorable court deems just
9
                     and equitable.
10

11

12                                          /S/ Gregory Peacock_____________
13
                                            GREGORY PEACOCK

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                              COMPLAINT FOR DAMAGES
                                                12
